Case 3:23-cv-04238-LB Document 1-2 Filed 08/18/23 Page 1 of 1

CHASE @

iy

April 12, 2018

Forrest Capital Partners, lie
401 E Las Olas Blvd Suite 130
Ft Lauderdale Florida 33301

RE: Weathervane Productions— Petri Entertainment, LLC
Tender Production

Mr, MicConley and Mr. VanEman

Per your request, this letter is ta confirm we have received and processed your wire instructions for the
referenced project. The Credit Line allocated for funding has been approved and we.do not anticipate
any future delays in completing the instructions you provided our compliance and wire department.
This wire will be executed on April 13, 2018 in the amount of $1,700,000 and shall be sent to your
project account provided to our team. Please keep in mind; wires can take up to two business days to
post.

Again, we have processed and approved the wire ta go out on behalf Petri Entertainment, LLC., for
Tender Production,

Thank you once again for patience and your continued business with CHASE Bank and | look forward to
working with you in the future.

Sincerely,
Sse
JOHN TORRES

Vice President
Private Client Banker
(818) 746-4330
